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                                      #45008



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS                       Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                                MDL No. 3004
 This Document Relates to All Cases



                                        ORDER

ROSENSTENGEL, Chief Judge:

      On April 14, 2025, the Court was informed that lead counsel for Plaintiffs and

Defendants had reached a tentative agreement to settle this litigation. In order to allow

counsel to focus on finalizing the terms of their agreement, the Court STAYS the case-

specific discovery deadlines set forth in the January 2025 Order Selecting Plaintiffs for

Further Case-Specific Discovery (Doc. 5536) for 30 days. The parties shall update the

Court on the status of a final settlement agreement no later than June 11, 2025.

      IT IS SO ORDERED.

      DATED: May 9, 2025

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                                                NANCY J. ROSENSTENGEL
                                                Chief U.S. District Judge
